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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

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                                                             :
In re:                                                       :        Chapter 11
                                                             :
BBGI US, INC., et al.,                                       :        Case No. 20–11785 (CSS)
                                                             :
                                    Debtors.   1             :        (Jointly Administered)
                                                             :
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                     NOTICE OF AGENDA FOR TELEPHONIC
            AND VIDEO HEARING SCHEDULED FOR NOVEMBER 19, 2020
               AT 2:00 P.M. (PREVAILING EASTERN TIME), BEFORE
           THE HONORABLE CHRISTOPHER S. SONTCHI, AT THE UNITED
         STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE 2

                   ANY PARTY WISHING TO PARTICIPATE IN THE HEARING
                   MUST APPEAR THROUGH BOTH COURTCALL AND ZOOM.

                     TO APPEAR BY VIDEO CONFERENCE,
             PARTIES SHOULD USE THE FOLLOWING INFORMATION:
        JOIN ZOOMGOV HEARING: https://debuscourts.zoomgov.com/j/1602584320
                  MEETING ID: 160 258 4320; PASSWORD: 496770

       PLEASE NOTE: AUDIO MUST BE MUTED IN ZOOM ONCE CONNECTED.
         COURTCALL, LLC WILL PROVIDE THE AUDIO FOR THE HEARING.

                               TO APPEAR TELEPHONICALLY,
                      PARTIES SHOULD CONTACT COURTCALL, LLC
                     AT 844-925-0626 TO REGISTER THEIR APPEARANCE.



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are BBGI US, Inc. (f/k/a Brooks Brothers Group, Inc.) (8883); Brooks Brothers Far East
    Limited (N/A); BBD Holding 1, LLC (N/A); BBD Holding 2, LLC (N/A); BBDI, LLC (N/A); BBGI
    International, LLC (f/k/a Brooks Brothers International, LLC) (N/A); BBGI Restaurant, LLC (f/k/a Brooks
    Brothers Restaurant, LLC) (3846); Deconic Group LLC (0969); Golden Fleece Manufacturing Group, LLC
    (5649); RBA Wholesale, LLC (0986); Retail Brand Alliance Gift Card Services, LLC (1916); Retail Brand
    Alliance of Puerto Rico, Inc. (2147); 696 White Plains Road, LLC (7265); and BBGI Canada Ltd. (f/k/a Brooks
    Brothers Canada Ltd.) (4709). The Debtors’ corporate headquarters and service address is 100 Phoenix Ave.,
    Enfield, CT 06082.
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    All motions and other pleadings referenced herein are available online at the following address:
    https://cases.primeclerk.com/brooksbrothers/.


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I.       RESOLVED MATTER:

1.       Debtors’ Application to Retain and Employ Osler, Hoskin & Harcourt, LLP as Canadian
         Counsel to the Debtors Effective Nunc Pro Tunc to September 10, 2020 [Docket No. 670
         – filed October 21, 2020]

         Objection/Response Deadline:          November 4, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:        None.

         Related Documents:

         i.        Certificate of No Objection Regarding Debtors’ Application to Retain and
                   Employ Osler, Hoskin & Harcourt, LLP as Canadian Counsel to the Debtors
                   Effective Nunc Pro Tunc to September 10, 2020 [Docket No. 704 – filed
                   November 5, 2020]

         ii.       Order Authorizing the Debtors to Retain and Employ Osler, Hoskin & Harcourt,
                   LLP as Canadian Counsel to the Debtors Effective Nunc Pro Tunc to September
                   10, 2020 [Docket No. 708 – entered November 6, 2020]

         Status: On November 6, 2020, the Court entered an order with respect to this matter.
                Accordingly, a hearing on this matter is no longer necessary.

2.       First Omnibus Motion of Debtors for Entry of an Order Authorizing the Rejection of
         Certain Executory Contracts Nunc Pro Tunc to the Rejection Date [Docket No. 681 –
         filed October 23, 2020]

         Objection/Response Deadline:          November 6, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:        None.

         Related Documents:

         i.        Certification of Counsel Regarding Order Granting First Omnibus Motion of
                   Debtors for an Order Authorizing the Rejection of Certain Executory Contracts
                   Effective Nunc Pro Tunc to the Rejection Date [Docket No. 716 – filed November
                   9, 2020]

         ii.       Order Granting First Omnibus Motion of Debtors for an Order Authorizing the
                   Rejection of Certain Executory Contracts Effective Nunc Pro Tunc to the
                   Rejection Date [Docket No. 725 – entered November 16, 2020]

         Status: On November 16, 2020, the Court entered an order with respect to this matter.
                Accordingly, a hearing on this matter is no longer necessary.

3.       Motion of Debtors for Entry of an Order (I) Establishing Bar Dates for (A) Filing Proofs
         of Claim Against Brooks Brothers Canada Ltd., (B) Assertion of Certain Administrative

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         Expense Claims, and (C) Filing Proofs of Claim for Alexis Bittar Customer Programs,
         (II) Approving the Form and Manner for Filing Proofs of Claim, (III) Approving the
         Proposed Notice Thereof, and (IV) Granting Related Relief [Docket No. 682 – filed
         October 23, 2020]

         Objection/Response Deadline:           November 6, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:         None.

         Related Documents:

         i.        Certification of Counsel Regarding Order (I) Establishing Bar Dates for
                   (A) Filing Proofs of Claim Against BBGI Canada Ltd., (B) Assertion of Certain
                   Administrative Expense Claims, and (C) Filing Proofs of Claim for Alexis Bittar
                   Customer Programs, (II) Approving the Form and Manner for Filing Proofs of
                   Claim, (III) Approving the Proposed Notice Thereof, and (IV) Granting Related
                   Relief [Docket No. 719 – filed November 10, 2020]

         ii.       Order (I) Establishing Bar Dates for (A) Filing Proofs of Claim Against BBGI
                   Canada Ltd., (B) Assertion of Certain Administrative Expense Claims, and
                   (C) Filing Proofs of Claim for Alexis Bittar Customer Programs, (II) Approving
                   the Form and Manner for Filing Proofs of Claim, (III) Approving the Proposed
                   Notice Thereof, and (IV) Granting Related Relief [Docket No. 727 – entered
                   November 16, 2020]

         Status: On November 16, 2020, the Court entered an order with respect to this matter.
                Accordingly, a hearing on this matter is no longer necessary.

II.      CONTINUED MATTERS:

4.       Motion for an Order Authorizing Ralph Lauren Corporation to File Documents Under
         Seal [Docket No. 350 – filed August 8, 2020]

         Objection/Response Deadline:           August 14, 2020 at 10:00 a.m. (ET)

         Objections/Responses Received:         None.

         Related Documents:

         i.        [Sealed] Limited Objection and Reservation of Rights of Ralph Lauren
                   Corporation to (I) Motion of Debtors for Entry of Order Approving (A) Sale of
                   Substantially All of Debtors’ Assets Free and Clear of Liens, Claims, Interests,
                   and Encumbrances, and (B) Assumption and Assignment of Executory Contracts
                   and Unexpired Leases; and (II) Notice of Cure Costs and Potential Assumption
                   and Assignment of Executory Contracts and Unexpired Leases in Connection
                   with Sale Transaction [Docket No. 348 - filed August 8, 2020]


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         ii.       Notice of Filing of Proposed Redacted Limited Objection and Reservation of
                   Rights of Ralph Lauren Corporation to (I) Motion of Debtors for Entry of Order
                   Approving (A) Sale of Substantially All of Debtors’ Assets Free and Clear of
                   Liens, Claims, Interests, and Encumbrances, and (B) Assumption and Assignment
                   of Executory Contracts and Unexpired Leases; and (II) Notice of Cure Costs and
                   Potential Assumption and Assignment of Executory Contracts and Unexpired
                   Leases in Connection with Sale Transaction [Docket No. 349 – filed August 8,
                   2020 – Sealed Version at Docket No. 348]

         Status: The hearing on this matter has been continued to a date to be determined.

5.       Motion [of Hiram Borunda] for Relief from Automatic Stay Pursuant to Section 362(d)
         of the Bankruptcy Code in Order to Proceed with His Personal Injury Claim and Collet
         from Applicable Insurance Proceeds [Docket No. 652 – filed October 9, 2020]

         Objection/Response Deadline:          October 16, 2020 at 4:00 p.m. (ET); extended by
                                               agreement to November 12, 2020 at 4:00 p.m. (ET)
                                               for the Debtors

         Objections/Responses Received:        None at this time.

         Related Documents: None at this time.

         Status: The parties have reached an agreement in principle with respect to the relief
                sought under the motion. The parties have agreed to continue this matter
                pending the entry of a formal agreement between the parties.

6.       Motion of Legacy Industries, Inc. to Compel Return of Deposit Made in Connection with
         Unconsummated Sale of Garland Assets [Docket No. 673 – filed October 21, 2020]

         Objection/Response Deadline:          November 4, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:

         A.        Debtors’ Objection to Motion of Legacy Industries, Inc. to Compel Return of
                   Deposit Made in Connection with Unconsummated Sale of Garland Assets
                   [Docket No. 698 – filed November 4, 2020]

         B.        Joinder of the Official Committee of Unsecured Creditors in Debtors’
                   Objection to Motion of Legacy Industries, Inc. to Compel Return of Deposit
                   Made in Connection with Unconsummated Sale of Garland Assets [Docket
                   No. 706 – filed November 5, 2020]

         Related Documents: None at this time.

         Status: The hearing on this matter has been continued to a date to be determined.



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III.     MATTER SUBMITTED UNDER CERTIFICATION:

7.       Motion of Debtors for Entry of an Order (I) Extending the Exclusive Periods to File and
         Solicit Acceptances of a Chapter 11 Plan and (II) Granting Related Relief [Docket No.
         707 – filed November 5, 2020]

         Objection/Response Deadline:           November 12, 2020 at 4:00 p.m. (ET)

         Objections/Responses Received:         None.

         Related Documents:

         i.        Statement of the Official Committee of Unsecured Creditors in Response to
                   Debtors’ Exclusivity Motion [Docket No. 724 – filed November 15, 2020]

         ii.       Certificate of No Objection Regarding Motion of Debtors for Entry of an Order
                   (I) Extending the Exclusive Periods to File and Solicit Acceptances of a Chapter
                   11 Plan and (II) Granting Related Relief [Docket No. 728 – filed November 16,
                   2020]

         Status: On November 16, 2020, the Debtors filed a certificate of no objection regarding
                this matter. Accordingly, a hearing on this matter is only necessary to the
                extent the Court has questions or concerns.

IV.      ADDITIONAL MATTER:

8.       Motion of Debtors for Entry of an Order Authorizing the United States Trustee to
         Appoint an Official Committee of Retired Employees [Docket No. 736 – filed November
         16, 2020]

         [Proposed] Objection/Response Deadline:        At the hearing

         Objections/Responses Received:         None at this time.

         Related Documents:

         i.        Motion of Debtors for Entry of an Order (I) Shortening Notice of Hearing on
                   Motion of Debtors for Entry of an Order Authorizing the United States Trustee to
                   Appoint an Official Committee of Retired Employees and (II) Granting Related
                   Relief [Docket No. 737 – filed November 16, 2020]

         Status: If the Court grants the Debtors’ request to shorten notice, the hearing on this
                matter will go forward.




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Dated: November 17, 2020
       Wilmington, Delaware

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